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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

ROBIN CATER,                                          )
                                                      )
                              Plaintiff,              )
                                                      )
                         v.                           )       No. 1:18-cv-01790-JMS-DLP
                                                      )
LOVELY NAILS, INC.,                                   )
                                                      )
                              Defendant.              )

                           Order Granting In Forma Pauperis Status
                         and Directing Issuance and Service of Process

                      I. Motion for Leave to Proceed In Forma Paupersis

       Plaintiff Robin Cater’s motion for leave to proceed in forma pauperis, dkt. [2], is granted.

                                II. Issuance and Service of Process

       The clerk is designated pursuant to Fed. R. Civ. P. 4(c)(3) to issue process to defendant

Lovely Nails, Inc., in the manner specified by Rule 4(d). Process shall consist of the complaint,

dkt. 1, applicable forms (Notice of Lawsuit and Request for Waiver of Service of Summons and

Waiver of Service of Summons), and this Entry.

                                 III. Obligation to Update Address

       The Court must be able to communicate with pro se parties through the United States mail.

While this action is pending, plaintiff shall report any change of address to the Court, in writing,

within ten days. The failure to keep the Court informed of a current mailing address may result in

the dismissal of this action for failure to comply with Court orders and failure to prosecute.

       IT IS SO ORDERED.



          Date: 6/14/2018
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Distribution:

Robin Cater
3891 Carwinion Way
Carmel, IN 46032

Lovely Nails, Inc.
c/o Jesse Pham, Registered Service Agent
4488 Foxmoor Drive
Newburgh, IN 47630
